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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

DONNA GRACE,                                       §
                                                   §
         Plaintiff,                                §
                                                   §
v.                                                 §                      1:17-cv-472
                                                         CIVIL ACTION NO. ________________
                                                   §
SURGICAL CARE AFFILIATES, INC.,                    §
                                                   §
         Defendant.                                §


                      DEFENDANT’S NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         NOW COMES, Defendant Surgical Care Affiliates, Inc. (“SCA”), the Defendant herein,

pursuant to 28 U.S.C. §§ 1441 and 1446, and gives notice that it hereby removes the case styled

Donna Grace v. Surgical Care Affiliates, Inc., Cause No. D-1-GN-17-001455, filed in the 345th

Judicial District Court of Travis County, Texas (the “State Court Action”). As grounds for

removal, the Defendant respectfully states the following:

I.       THE STATE COURT ACTION.

         1.       The State Court Action arises out of the Plaintiff’s employment at SCA.

         2.       On April 3, 2017, Plaintiff initiated the State Court Action by filing her Original

Petition (“Petition”) in the 345th Judicial District Court of Travis County, Texas.

         3.       In her Petition, Plaintiff asserts claims for retaliation, damages, exemplary

damages, mental anguish damages, loss of income, loss of benefits, costs, back pay, bonuses,

reimbursement of lost pension, expert witness fess and attorneys’ fees. See Exhibit B(2), ¶¶ 23-

32 and Prayer.



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         4.       On April 7, 2017, a Citation directed to SCA was issued by the Travis County

District Clerk. Exhibit B(3). To date, the Officer’s Return of Citation has not been filed with the

District Clerk. See Exhibit B(1).

         5.       On May 15, 2017, SCA filed its Original Answer and Affirmative Defenses. See

Exhibit B(5).

         6.       On May 15, 2017, SCA filed a Notice of Filing Notice of Removal. See Exhibit

B(6).

         7.       No further proceedings have taken place in the State Court Action.

II.      REQUIREMENTS FOR REMOVAL.

         8.       In accordance with 28 U.S.C. § 1446(a), Defendant attaches the following to its

Notice of Removal:

                  Exhibit A:    Index of all matters filed in the State Court Action that clearly
                                identifies each document and indicates the date the document was
                                filed.

                  Exhibit B:    Copies of all process and pleadings in the State Court Action,
                                individually tabbed and arranged in order of filing under tabs 1
                                through 6.

         9.       As stated herein, Plaintiff filed the State Court Action on April 3, 2017. SCA was

served on April 19, 2017. Consequently, this Notice of Removal is timely filed pursuant to 28

U.S.C. § 1446(b).

         10.      As set forth in more detail below, this Court would have original jurisdiction of

this matter based on diversity jurisdiction pursuant to 28 U.S.C. § 1332(a). Except as otherwise

expressly provided by Act of Congress, any civil action brought in a state court of which the

district courts of the United States have original jurisdiction may be removed to the district court

of the United States for the district and division embracing the place where the action is pending.

See 28 U.S.C. § 1441. The Austin Division of the Western District of Texas is the United States

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District and Division embracing Travis County, Texas, the county in which the State Court

Action is pending. See 28 U.S.C. § 124(d)(1).

         11.      As required by 28 U.S.C. § 1446(d), SCA, the removing party, will promptly give

all parties written notice of the filing of this Notice of Removal and will promptly file a copy of

this Notice of Removal with the Clerk of the 345th District Court of Travis County, Texas, where

the State Court Action is currently pending.

III.     THIS COURT HAS JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP.

         12.      The district courts of the United States have original jurisdiction over this action

because there is complete diversity of citizenship between the Parties and the matter in

controversy exceeds the sum or value of $75,000.00 exclusive of interest and costs. See 28

U.S.C. § 1332(a).

         A.       There is complete diversity of citizenship between the Parties.

         13.      Plaintiff is as natural person. For the purposes of diversity jurisdiction, a person

is considered a citizen of the state where the person is domiciled. Preston v. Tenet Healthsystem

Mem. Med. Ctr., 485 F.3d 793, 797 (5th Cir. 2007). Plaintiff was, at the time the action was

filed, and is currently, domiciled in the State of Texas. See Exhibit B(2) ¶ 3. Consequently,

Plaintiff was at the time the State Court Action was filed, and is currently, a citizen of the State

of Texas.

         14.      SCA is a Delaware corporation with its principal place of business in Deerfield,

Illinois. A corporation is deemed a “citizen” of the location of its “principal place of business.”

28 U.S.C. § 1332(c); Therefore, SCA is a citizen of Illinois for diversity purposes.

         15.      At the time the State Court Action was commenced, and at the time of Removal,

SCA      was,      and    currently   remains,   diverse   in   citizenship   from     the   Plaintiff.

28 U.S.C. § 1332(a)(1). Accordingly, there is complete diversity among the Parties.

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         B.       The amount in controversy exceeds $75,000.00 exclusive of interest and costs.

         16.      In the State Court Action, Plaintiff’s claims for retaliation, damages, exemplary

damages, mental anguish damages, loss of income, loss of benefits, costs, back pay, bonuses,

reimbursement of lost pension, expert witness fess and attorneys’ fees place the amount in

controversy above the $75,000.00 threshold for diversity jurisdiction. See Exhibit B(2), ¶¶ 23-

32 and Prayer.

         17.      When the plaintiff’s state court petition does not allege the specific amount of

damages, as in the instant case, a court may determine that removal is proper if it is facially

apparent from the petition that the claims are likely above $75,000.00. Allen v. R & H Oil & Gas

Company, 63 F.3d 1326, 1335 (5th Cir. 1995); see also White v. VCI U.S.A., Inc., 319 F.3d 672,

675 (5th Cir. 2003) (to determine the amount in controversy, the court may consider actual

damages, exemplary damages and attorneys’ fees). If the amount in controversy is not apparent

from the face of the petition, the court may rely on facts asserted in the removal notice that

support a finding of the requisite amount. Id. The jurisdictional facts supporting removal must

be judged at the time of the removal. Id.

         18.      Therefore, based on the damages sought by Plaintiff, the amount in controversy

clearly exceeds $75,000.00, which is the standard for a party invoking federal jurisdiction. 28

U.S.C. § 1332(a).

IV.      CONCLUSION

         19.      Because there is complete diversity amongst the Parties and the amount in

controversy exceeds $75,000.00, diversity jurisdiction exists and this Court has subject matter

jurisdiction over the case.




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                                           PRAYER

         WHEREFORE, pursuant to 28 U.S.C. §§ 1332(a)(1), 1441 and 1446 and in conformance

with the requirements set forth in 28 U.S.C. § 1446, Defendant hereby removes the case styled

Donna Grace v. Surgical Care Affiliates, Inc., Cause No. D-1-GN-17-001455, filed in the 345th

Judicial District Court of Travis County, Texas, so that this Court may assume jurisdiction over

the cause as provided by law.

                                                   Respectfully submitted,

                                                   HUSCH BLACKWELL, L.L.P.


                                                   /s/ Kevin Koronka
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                                                   ATTORNEYS FOR SURGICAL CARE
                                                   AFFILIATES, INC.




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                                   CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the foregoing was delivered to all counsel of record as
shown below:

  X               Mailed by certified mail, return receipt requested, postage prepaid, in a postpaid,
                  properly addressed wrapper, in a post office or official depository under the care
                  and custody of the United States Postal Service.

______            Hand-delivered by courier receipted delivery.

______            Forwarded by next day receipted delivery service.

______            Communicated by telephonic document transfer to the recipient’s current
                  telecopier number.

___X____          Electronic Service via the Western District of Texas Electronic Case Filing
                  System (ECF).

TO:

       Joseph Y. Ahmad                                   Jakki A. Hansen
       AHMAD, ZAVITSANOS, ANAIPAKOS,                     THE HANSEN LAW FIRM, P.C.
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on this 17th day of May, 2017.                         /s/ Kevin Koronka
                                                       Kevin Koronka




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